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                        UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

          Chambers of                                             Martin Luther King Jr, Federal Bldg.
STEVEN C. MANNION                                                         & U.S. Courthouse
United States Magistrate Judge                                             50 Walnut Street
                                                                          Newark, NJ 07102
                                                                            (973) 645-3827

                                                   February 5, 2019

                                            LETTER ORDER

                  Re:    Clover Health Investments Corp., et al. v. Farrell
                         Civil Action No. 18-cv-16802 (KM) (SCM)

Dear Litigants:

          This matter comes before the Court upon review of Plaintiffs’ second Motion to Seal.1

There is a legal presumption that all materials and judicial proceedings are matters of public record

and are not to be sealed. 2 To overcome that presumption, a party seeking to seal materials or

judicial proceedings must comply with the mandates of the local rule. Local Civil Rule 5.3(c)

requires that motions to seal include an affidavit or certification and index addressing the six

factors identified in paragraph (c)(3), including an explanation of “why a less restrictive alternative

to the relief sought is not available”. 3

          Plaintiff’s motion is currently deficient as it is overbroad and inconsistent with the

principles guiding the motion to seal. This Court finds that plaintiff has not demonstrated why a

less restrictive alternative to sealing the entire complaint is not available, such as redacting only

those sentences of the complaint that contain confidential information. Plaintiffs’ second Motion


1
    (ECF Docket Entry No. (“D.E.”) 18).
2
    See L. Civ. R. 5.3(c)(3).
3
    See id.
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to Seal (D.E. 18) is hereby DENIED without prejudice. Counsel may file a new motion to seal

after the deficiencies have been corrected.

       IT IS SO ORDERED.




                                                     2/5/2019 9:51:23 AM



Original: Clerk of the Court
Hon. Kevin McNulty, U.S.D.J.
cc: All parties
    File




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